          Case 1:20-vv-00335-UNJ Document 19 Filed 09/14/20 Page 1 of 1




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-335V
                                        UNPUBLISHED


    JAMES MAYHUGH,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: August 7, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Vaccine Rule 21(a); Order
    HUMAN SERVICES,                                         Concluding Proceedings

                       Respondent.


Bobbie L. Flynt, Crandall & Pera Law, LLC, Chagrin Falls, OH, for petitioner.

Lara Ann Englund, U.S. Department of Justice, Washington, DC, for respondent.

                            ORDER CONCLUDING PROCEEDINGS 1

       On August 4, 2020, the Petitioner filed a Notice of Dismissal in the above-
captioned case.

      Accordingly, pursuant to Vaccine Rule 21 (a), the above-captioned case is hereby
dismissed without prejudice. The Clerk of the Court is hereby instructed that a
judgment shall not enter in the instant case pursuant to Vaccine Rule 21(a).

IT IS SO ORDERED.

                                                          s/Brian H. Corcoran
                                                          Brian H. Corcoran
                                                          Chief Special Master




1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
.
